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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE



MARGARET SOUCIE                                        )
                                                       )
                 Plaintiff                             )       Civil Action
                                                       )       Case No. 1:14-cv-0370 JDL
V.                                                     )
                                                       )
UNITED STATES OF AMERICA                               )
                                                       )
                 Defendants                            )



                               AMENDED COMPLAINT
                     [PURSUANT TO ORDER DATED JANUARY 8, 2015]



           Plaintiff Margaret Soucie, by and through her undersigned attorneys, hereby for her

 Amended Complaint alleges as follows.


                                     SUMMARY OF CLAIMS

           This is an administrative tort claim action brought pursuant to the Federal Torts

     Claim Act for personal injuries suffered by Plaintiff Soucie as a result of medical malpractice

     committed upon her by an employee of a federally-supported health facility.



                                 JURISDICTION AND VENUE

           1.    This Court has jurisdiction over this action pursuant to 28 U.S.C. Sections

                 1346(b), 2401(b) and 2671-2680.




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     2.   Venue is properly vested in this Court because Plaintiff is a resident of this District

          and the acts complained of occurred within the jurisdiction of this District

          (specifically, Penobscot County, Maine).



                                       PARTIES

     3.        At all times pertinent hereto, Margaret Soucie (hereinafter “Soucie”) was an

          individual residing in Dexter, Penobscot County, Maine.

     4. At all times relevant hereto, Cynthia Levick FNP was an employee of Sebasticook

          Family Doctors (hereinafter “Sebasticook”), a Maine corporation with a principal

          place of business in Newport, Penobscot County, Maine.

     5.   Upon information and belief, at all times relevant hereto, Sebasticook was a

          “federally-supported health facility” pursuant to the Federally-Supported Health

          Centers Assistance Act of 1992, as amended, 42 U.S.C. Section 233(g)-(n).



                                         FACTS

     6.   In     October   2012,   Soucie    was   treated    by   and    at   the   offices   of

          Levick/Sebasticook.

     7.   Specifically, Ms. Soucie was seen on October 3, 2012 at 11 a.m. for a

          temperature of 100.59 F. Her highest reported temperature was 101.94 the night

          prior to the said office visit. She had a negative review of symptoms except for

          decreased appetite and energy. Her examination was reported within normal

          limits. Her prior history was notable for, among other conditions, hypertension,

          hyperthyroidism, low back pain, diabetes and peripheral neuropathy,



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     8.    Ms. Soucie returned on October 5, 2012 with complaints of right foot pain and

           swelling for two days, with increasing pain and swelling without fever. Ms.

           Soucie was diagnosed with a foot infection and prescribed a course of

           clindamycin 150 mg four times daily and warm compresses to her foot. As

           discussed more fully below, that course of antibiotics was inadequate to address

           Ms. Soucie’s circumstances and the prescribing of same was negligent.

     9.    Ms. Soucie was advised that she had “a virus” which would “run its course” and

           was advised to drink “plenty of water”. As discussed more fully below, treating

           Ms. Soucie’s infection as a viral infection was negligent.

     10.   Ms. Soucie returned on October 8, 2012 with a significantly worsening foot

           infection and a cyanotic toe, with observations that the bottom of [her] foot had a

           yellow area that had spread across and was painful. The foot was examined and

           found to be edematous, with a foul odor, erythematous and yellow.

     11.   On October 10, 2012, Ms. Soucie presented to the emergency room fulminant and

           with a severe and raging infection of the right foot, where a below knee

           amputation was performed upon her.

     12.   The medical care provided to Ms. Soucie on October 3, 5 and 8, 2012 fell far

           below and departed from the applicable standards of care and was negligent,

           particularly with regard to the treatment of the foot infection as though it was a

           viral infection and with respect to an inadequate dosing of antibiotics. That

           inadequate care resulted in the amputation, which would not have been necessary

           had Ms. Soucie obtained the proper care and treatment.

     13.   Accordingly, Levick/Sebasticook negligently and in breach of the applicable

           standards of care engaged in improper treatment for            lower     extremit y

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          complaints, resulting in an unnecessary below-knee amputation of her right

          lower leg.

    14.   As a direct and proximate result of the negligence/breach of applicable standards

          of care of Levick/Sebasticook, Soucie has sustained personal injuries, including

          but not limited to:

                       a.   loss of her right lower leg;

                       b.   tremendous emotional distress, both past and future;

                       c.   pain and suffering; and

                       d.   loss of enjoyment of life.

    15.   On or about November 20, 2013, Plaintiff filed a Notice of Claim against

          Levick/Sebasticook pursuant to 24 M.R.S.A. Section 2853 and 14 M.R.S.A.

          Section 1602.

    16.   On or about January 23, 2014 the United States Department of Health and

          Human Services (hereinafter “the Department”) issued a letter advising Plaintiff

          that Levick and Sebasticook were at all times relevant employees of a

          federally-supported health facility and that, pursuant to the Federally-

          Supported Health Centers Assistance Act of 1992, as amended, 42 U.S.C.

          Section 233(g)- (n), the Federal Torts Claim Act, 28 U.S.C. Section 1346(b),

          2671-2680 is and was the exclusive remedy for the injuries sustained by

          Plaintiff.

    17.   On August 18, 2014, the Department issued a further letter advising Plaintiff

          that, after review, the claim of Plaintiff for the medical malpractice described

          above was denied.        In that letter, the Department advised Plaintiff that the



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            appropriate remedy for such denial, if and to the extent that Plaintiff disagreed

            with the said denial, was the filing of suit in the appropriate United States

            Federal District Court.

    18.     This action followed upon the aforesaid actions of the Department.

    19.     By reason of the foregoing, Plaintiff is entitled to recover against the United States

            pursuant to the Federal Torts Claim Act.

       WHEREFORE, Plaintiff demands judgment against t h e Defendant United States for

compensatory damages in the amount of one million one hundred thousand Dollars ($1,100,000)

and for her attorneys fees and costs, together with all such other, further and additional relief as

this Court deems just and appropriate, and for a trial by jury on all issues so triable as a

matter of right.

    DATED at Lewiston, Maine this 9th day of January, 2015


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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


       I hereby certify that on January 9, 2015, I electronically filed the within

                                      AMENDED COMPLAINT

using the DM/ECF system which will send notification of such filing to Assistant United States

Attorney Andrew Lizotte.


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